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                                           State of New Jersey
PHILIP D. MURPHY                        OFFICE OF THE ATTORNEY GENERAL                                      MATTHEW J. PLATKIN
    Governor                          DEPARTMENT OF LAW AND PUBLIC SAFETY                                     Attorney General
                                                DIVISION OF LAW
TAHESHA L. WAY                                        PO Box 45029                                          MICHAEL T.G. LONG
   Lt. Governor                                   Newark, NJ 07101                                                Director




                                          September 16, 2024

       VIA ECF
       Hon. Leda Dunn Wettre, U.S.M.J.
       United States District Court
       District of New Jersey
       Martin Luther King Jr. Federal Building
       & U.S. Courthouse
       50 Walnut Street
       Newark, New Jersey 07101

                   Re:    United States, et al. v. Apple Inc.
                          Case No. 2:24-cv-04055
                          Pro Hac Vice Admission Motion on Consent

       Dear Judge Wettre:

            This Office, by and through the Attorney General Matthew J.
       Platkin, represents the Plaintiff State of New Jersey (“New
       Jersey”) in the above-captioned matter. This correspondence is
       respectfully submitted, in lieu of a notice of motion, in
       accordance with Your Honor’s judicial preferences, in support of
       New Jersey’s motion for an Order admitting pro hac vice Robert J.
       Carlson, counsel for the Plaintiff State of Oklahoma. Defendant
       Apple Inc. consents to the pro hac vice admission of Mr. Carlson.

            In support of New Jersey’s motion, enclosed please find the
       Certification of Andrew F. Esoldi, Deputy Attorney General, and
       the certification of Robert J. Carlson seeking pro hac vice
       admission to represent the Plaintiff State of Oklahoma.     Also
       enclosed is a proposed Order.

            As set forth more fully in the enclosed certifications,
       pursuant to Local Rule 101.1(c), New Jersey will appear in this
       action, including all court appearances, on behalf of the Plaintiff


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  State of Oklahoma, accept service of all court filings, and
  otherwise serve as local counsel. Mr. Carlson has advised me that
  he is a member in good standing of the bars to which he is admitted,
  specializes in the field of antitrust law, and is familiar with
  the facts of the case, issues, and pleadings. For these reasons,
  it is respectfully submitted that good cause exists for pro hac
  vice admission of Mr. Carlson.

       New Jersey respectfully requests that Your Honor enter an
  Order admitting counsel to represent the Plaintiff-State of
  Oklahoma pursuant to Local Civil Rule 101.1(c).

       Your Honor’s time and consideration of this matter are greatly
  appreciated.



                               Respectfully submitted,

                               MATTHEW J. PLATKIN
                               ATTORNEY GENERAL OF NEW JERSEY


                               By:_______________________________
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  CC: All Counsel of Record (via ECF)
